        Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 1 of 8




                                   STATEMENT OF FACTS

        Your affiant, Lisa Sorgi, is a Special Agent assigned to the Federal Bureau of Investigation
Omaha Field Office, Waterloo Resident Agency. As part of my duties as a Special Agent, I am
currently tasked with investigating criminal activity that occurred on January 6, 2021, in and
around the U.S. Capitol grounds. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


                                                 1
         Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 2 of 8




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 7, 2021 an individual who will be referred to as, Complainant A, called the
FBI National Threat Operations Center to report that DANIEL JOHNSON from Austin, MN
posted video to his Snapchat account from inside the U.S. Capitol building during the riot.
Complainant A also knew DANIEL JOHNSON to have the cellular telephone number ending in -
8691.

        On January 18, 2021, an individual who will be referred to as Complainant B submitted a
tip through the fbi.gov/uscapitol online portal which included a screenshot of a Facebook comment
written by DANIEL JOHNSON that stated, “I was one of the first ones inside the capitol building.”

         On March 1, 2021, an individual who will be referred to as Complainant C, submitted a
tip to the FBI through the FBI’s online portal alleging that DANIEL JOHNSON and his father
DARYL JOHNSON were inside the U.S. Capitol Building on January 6, 2021, during the riots.

        During the investigation, the FBI uncovered videos of DARYL and DANIEL JOHNSON
inside the U.S. Capitol. Screenshots from these videos are below. DANIEL JOHNSON is circled
in blue, and DARYL JOHNSON is circled in red.




                                                 2
Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 3 of 8




     U.S. Capitol Hall of Columns January 6, 2021 (Photograph A)




            U.S. Capitol Hall of Columns (Photograph B)




                                 3
Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 4 of 8




              ITV News YouTube Clip (Photograph C)




              U.S. Capitol Office Hallway (Photograph D)




                                  4
        Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 5 of 8




        The FBI reviewed DARYL JOHNSON’s and DANIEL JOHNSON’s Facebook pages. On
DARYL JOHNSON’s Facebook page, DARYL JOHNSON posted photographs of himself
wearing articles of clothing similar to those he wore in Photographs A-D, including a puffy navy-
blue jacket, eyeglasses, an American flag face scarf, and a backpack with gray straps. Below are
the photographs from DARYL JOHNSON’s public Facebook profile. DARYL JOHNSON is
circled in red.




       On April 19, 2021 the Honorable Magistrate Judge G. Michael Harvey, United States
Court District of Columbia authorized a search warrant for DARYL JOHNSON’s Facebook
account. From the search warrant return, the FBI uncovered several comments posted by
DARYL JOHNSON referencing himself as having been at the U.S. Capitol riots on January 6,
2021.




                                               5
        Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 6 of 8




        The FBI also reviewed DANIEL JOHNSON’s Facebook page which showed a number of
political posts around the time of the U.S. Capitol riots. A Facebook search warrant was signed on
May 12, 2021, in the District of Columbia, by the Honorable Judge Robin M. Meriweather, for a
Facebook account listed to Dan Johnson. Facebook returns support the conclusion that DANIEL
JOHNSON was in Washington, D.C. on January 6, 2021. In one post, dated January 7, 2021,
DANIEL JOHNSON posted a photograph of the January 6, 2021, crowd and described the size of
the crowd near the U.S. Capitol on his Facebook page: “Couple thousand?? Lol try like 4 million
people!!!”




       DANIEL JOHNSON also posted on Facebook about entering the U.S. Capitol Building on
January 6, 2021. For instance, in private messages between DANIEL JOHNSON and another
individual, on January 6, 2021, DANIEL JOHNSON writes “We stormed capitol hill” and “Lol
Dad and I were one of the first ones inside.” Also, on a friend’s Facebook page, DANIEL
JOHNSON claimed to be one of the first inside the Capitol. Below is a screenshot of JOHNSON’s
comments.




                                                6
        Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 7 of 8




        Finally, to further identify DARYL and DANIEL JOHNSON as the subjects captured in
numerous photographs and video clips taken from inside the U.S. Capitol on January 6, 2021, FBI
agents interviewed Officer Lane Schutjer, Detective Bruce Hemann, and Complainant C.

   A. Officer Lane Schutjer of the St. Ansgar Police Department, located in St. Ansgar, Iowa,
      was shown Photographs A-D. Officer Schutjer identified the subject circled in red in
      photographs A-D to be DARYL JOHNSON. Officer Schutjer is familiar with the family,
      because DARYL JOHNSON’s father was previously the Mayor of St. Ansgar and because
      Officer Schutjer has also personally interacted with DARYL JOHNSON.

   B. Mower County Sheriff’s Detective Bruce Hemann, an individual that has had several in-
      person interactions with Daryl and Daniel Johnson, was shown Photograph C. He identified

                                              7
         Case 1:21-mj-00462-RMM Document 1-1 Filed 06/04/21 Page 8 of 8




       the individual circled in red as DARYL JOHNSON. Detective Hemann also believed it
       was possible that the individual circled in blue was DANIEL JOHNSON.

   C. Complainant C personally knows DANIEL JOHNSON. Complainant C was shown
      photographs taken from inside the U.S. Capitol on January 6, 2021, similar to Photographs
      A-D. Complainant C identified DANIEL JOHNSON in each of the photographs as the
      young male in a dark shirt with a gray hat, black sunglasses on top of the hat, and a red,
      white, and blue neck guard.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
DARYL JOHNSON and DANIEL JOHNSON violated 18 U.S.C. § 1752(a)(1) and (2), which
makes it a crime to (1) knowingly enter or remain in any restricted building or grounds without
lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so.

        Your affiant submits there is also probable cause to believe that DARYL JOHNSON and
DANIEL JOHNSON violated 40 U.S.C. § 5104(e)(2)(D) which makes it a crime to willfully and
knowingly utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress. Your affiant also submits there is probable cause to believe
that DARYL JOHNSON and DANIEL JOHNSON violated 40 U.S.C. § 5104(e)(2)(G) which
makes it a crime to willfully and knowingly parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                      _________________________________
                                                      Special Agent Lisa Sorgi
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of June 2021.

                                                                          2021.06.04
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                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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